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                                                           Court-Appointed Temporary Receiver for Link Motion Inc.
                                                           Pursuant to The Honorable Judge Victor Marrero of the
                                                           United States District Court, Southern District of New York


          322 Eighth Avenue Suite 1704 New York, NY 10001 (212) 523 – 0686 rseiden@seidenlawgroup.com

VIA ECF
Hon. Victor Marrero
United States Courthouse
500 Pearl Street
New York, New York 10007

February 10, 2023

Re: Baliga, et al. v. Link Motion Inc., et al., 1:18-cv-11642-VM-VF (S.D.N.Y.)

Dear Judge Marrero,

I write to provide the Court with a further status update. In my January 9, 2023 letter to the Court
(ECF 382), I indicated that Link Motion Inc.’s (“LKM”) registered agent in the Cayman Islands
had informed my office that if its invoice was not paid, LKM would be no longer be in good
standing. On January 20, 2023 (ECF 390), Your Honor directed the Receiver “to advise the Court
if it receives a notice from the Cayman Islands Registrar” regarding whether LKM is in good
standing.

On February 10, 2023, the Receiver received an email from Maples and Calder Service Europe
Limited (“Maples”), LKM’s registered agent in the Cayman Islands. In its email, Maples indicated
that “[LKM] is no longer in good standing” because it failed to pay the Maple Invoice,1 which
became due on January 31, 2023.2 Maples further indicated that in order to ensure that LKM “can
be restored to good standing[,]” LKM must pay the Maples Invoice “without further delay and, in
any event, by no later than Friday [February 24, 2023].”

Given that there are no funds available to the Receivership, the Receiver is unable to pay the
Maples Invoice. Further, in light of the Court’s order requiring the Receiver to preserve the “status
quo” (ECF 331), my office has not taken any actions in response to the Maples Invoice other than
to inform Maples that the Receiver is required to preserve the “status quo” and has no funds in its
estate. As such, I will follow the Court’s guidance as to actions that the Receiver should take (if
any) in light of the Court’s order and the best interests of LKM.

Please do not hesitate to contact me via email or telephone if your Honor wishes to discuss this
matter in further detail.




    cc:      All Parties (via ECF)                           Robert W. Seiden, Esq.
                                                             Court-Appointed Temporary Receiver for Link
                                                             Motion Inc.

1
    The term “Maples Invoice” refers to a Maples invoice to LKM in the amount of $3,219.51.
2
    The copies of the emails with Maples Invoice are attached as Exhibit A to this letter.
